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                                                     October 14, 2021



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                            UNITED STATES DISTRICT COURT
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                           CENTRAL DISTRICT OF CALIFORNIA
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 5                                               Case No. 2:21-cv-06447-SB-MRW
     EDWIN IVAN GUARDIA,
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 7                              Plaintiff,
 8                                                   FINAL JUDGMENT
     v.
 9
10   PRESTIGE DEFAULT SERVICES ET
     AL.,
11
12                              Defendants.

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15         For the reasons set forth in the separate Order of Dismissal entered this day, it is

16         ORDERED AND ADJUDGED that Edwin Ivan Guardia’s claim under 42

17   U.S.C. § 1983 against Defendants Prestige Default Services; Briana Young; Ghidotti

18   Berger, LLP and its employees; Michelle Rene Ghidotti, aka Michelle Ghidotti-

19   Gonsalves; Chase Berger; Redwood Holdings, LLC and its employees; Sam Chandra;

20   and the Law Offices of Sam Chandra and its employees is DISMISSED on the merits

21   with prejudice. The Court declines to exercise supplemental jurisdiction over

22   Plaintiff’s state law claims, and Plaintiff’s state law claims are DISMISSED without

23   prejudice.

24         This is a Final Judgment.

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26   Dated: October 14, 2021           _______________________________________
                                            STANLEY BLUMENFELD, JR.
27                                        UNITED STATES DISTRICT JUDGE
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